              IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF KANSAS


IN RE:
                                         Case No. 20‐20786
THE YOUNG MENʹS CHRISTIAN                Chapter 11
ASSOCIATION OF TOPEKA,
KANSAS,

                Debtor

                    NOTICE OF HEARING ON
      DEBTOR’S THIRD APPLICATION TO EMPLOY ACCOUNTANT
              OBJECTION DEADLINE: AUGUST 10, 2021
          HEARING DATE: SEPTEMBER 10, 2021, AT 10:45 A.M.

      YOU ARE HEREBY notified that if no objection to the Debtor’s

Application to Employ Accountant is filed in writing with the Clerk of the U.S.

Bankruptcy Court by August 10, 2021, said Application will be granted by entry

of an Order to be prepared and submitted by counsel for movant.

      If a written objection is timely filed with the Clerk of the Bankruptcy Court

(161 U.S. Courthouse, 500 State Avenue, Kansas City, Kansas 66101), a hearing

will be scheduled on September 10, 2021 at 10:45 a.m.

      Hearing will not be held on this Application unless an objection and/or

response is timely filed with the Clerk on or before August 10, 2021.




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In the United States Bankruptcy Court for the District of Kansas
IN RE: The Young Men's Christian Association of Topeka, Kansas
         Bankruptcy Case No. 20-20786-11
         NOTICE OF HEARING ON APPLICATION TO EMPLOY ACCOUNTANT
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                                    RESPECTFULLY SUBMITTED,

                                    HINKLE LAW FIRM LLC

                                    /s/W. Thomas Gilman
                                    W. Thomas Gilman, #11867
                                    1617 N. Waterfront Parkway, Suite 400
                                    Wichita, KS 67206‐6639
                                    Phone (316) 267‐2000 / Fax: (316) 660‐6522
                                    Email: tgilman@hinklaw.com
                                    Attorneys for Debtor

                          CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on July 20, 2021, a true and correct
copy of the above and foregoing NOTICE OF HEARING ON DEBTOR’S THIRD
APPLICATION TO EMPLOY ACCOUNTANT was filed with the court using the
CM/ECF system, which sent a notification to all parties in interest participating
in the CM/ECF system, and on the same date a copy was mailed by first‐class
mail, postage prepaid and properly addressed to the creditors and parties in
interest set forth on the attached matrix to this original certificate of mailing on
file in the office of the Clerk of the U.S. Bankruptcy Court.



                                     /s/ Tammy Hohstadt
                                    Tammy Hohstadt, PLS
                                    Legal Assistant to W. Thomas Gilman, #11867




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